Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 1 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 2 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 3 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 4 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 5 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 6 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 7 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 8 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 9 of 54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 10 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 11 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 12 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 13 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 14 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 15 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 16 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 17 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 18 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 19 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 20 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 21 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 22 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 23 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 24 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 25 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 26 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 27 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 28 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 29 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 30 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 31 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 32 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 33 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 34 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 35 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 36 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 37 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 38 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 39 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 40 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 41 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 42 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 43 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 44 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 45 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 46 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 47 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 48 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 49 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 50 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 51 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 52 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 53 of
                                       54
Case 18-04145-5-DMW   Doc 13 Filed 08/29/18 Entered 08/30/18 14:41:13   Page 54 of
                                       54
